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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION
                                                                   CR                       21
UNITED STATES OF AMERICA                          INDICTMENT NO.


                   V.                             18 U.S.C. § 2261A
                                                  Stalking
STEPHEN GLOSSER AND
CALEB KINSEY                                      18 U.S.C. § 844(h)
                                                  Use of Fire or Explosive to
                                                  Commit Any Felony Offense

                                                  18 U.S.C. § 844(m)
                                                  Conspiracy to Use Fire or
V—         lO                                     Explosive to Commit Any Felony
C                                                 Offense

           Ci-                                    26 U.S.C. § 5861(d)
                                                  Possession of an Unregistered
            e:
                                                  Destructive Device

    i .'

                                                  18 U.S.C. § 922(a)(6)
                                                  False Statement During
                                                  Purchase of a Firearm


                                                  18 U.S.C. § 922(g)(1)
                                                  Possession of Firearms by a
                                                  Prohibited Person



THE GRAND JURY CHARGES THAT:

                                       COUNT ONE
                                          Stalking
                                   18 U.S.C. § 2261A(2)(B)

             From on or about December 2022, the exact dates being unknown, until about

January 2023, in the Southern District of Georgia, and elsewhere, the defendants,

                        STEPHEN GLOSSER AND CALEB KINSEY,

    aided and abetted by each other, with the intent to kill, injure, harass, intimidate,
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